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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

-V- : 21-CR-148 (PAE)
LUIS GAMEZ, : SCHEDULING ORDER
HUGO RICHARD VILLANUEVA TORRES, :
DANIEL ORTIZ,
JOSE LUIS MARTINEZ ROSARIO,
JAYSON COLON,

Defendants.

none x

 

PAUL A. ENGELMAYER, United States District Judge:
For the reasons stated on the record at today’s conference, the Court hereby sets the
following schedule and deadlines:
e Suppression: Defendants Torres and Colon have reserved the right to
make suppression motions. Any motions to suppress shall be filed by
November 5, 2021. Oppositions to any motions to suppress shall be
filed by November 19, 2021.
e Bill of particulars / severance: Defendant Ortiz has reserved the right to
move for particulars and for severance. His counsel is to file a letter by
November 5, 2021, setting out whether he intends to make such motions,
and, if so, more fully describing them.
e Status: The Government shall file, by November 5, 2021, a letter setting
out the status of the case, i.¢., its expectations as to how many defendants

will go to trial and the anticipated of a trial.
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e ‘The next conference in this case is scheduled for November 22, 2021 at
10:30 a.m. in Courtroom 1305 of the Thurgood Marshall Courthouse,
40 Foley Square, New York, NY.

« Time is excluded, pursuant to 18 U.S.C. § 3161(h)(7)(A), to November

22, 2021.

SO ORDERED.

Prt A. Crags

PAUL A. ENGELMAYER/

United States District Judge
Dated: October 7, 2021

New York, New York

 
